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                          TINITEDSTATESDISTRICTCOURT
                          EASTERNDISTRICTOF LOUISIANA
                                ----------x
ANDREW SCHLESINGER,
an individual,                                   CASENO.:

             Plaintiff.
                                                 Judge:
vs.

HASCOTHIBODAUX,L.L.C.
a LimitedLiability ComPanY                       Magistrate:

       Defendant.
                                      '-----x

                                       COMPLAINT
                                                               counsel,herebyfiles
                                    by andthroughhis undersigned
       plaintiff, ANDREW SCHLESINGER,

                                                                  as'.DEFENDANT"), a
this ComplaintandsuesHascoThibodaux,L.L.C. (hereinafterreferredto
                                                                     fees,andcostspursuant
LimitedLiability Company,for declaratoryandinjunctiverelief,attorneys'

              with DisabilitiesAct,42U.S.C.$ 12181et seq',andalleges:
to theAmericans



                                                                                       Americans
 l.    This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the
                                                                   asthe"ADA").This
       withDisabilitiesAII,4ZU.S.C.S 12181etseq.(hereinafterreferredto
                                                     to 28 U.S.C.SS1331and1343'
       court is vestedwith originaljwisdictionpursuant

 2.                                       to 28 U.S.C.$1391(b).
       venueis properin this court pursuant
                                    (hereinafterreferredto
        plaintif[ ANDREW SCHLESINGER,                                     or
                                                        as'oMR.SCHLESINGER"
 3.
        ,.PLAINTIFF"),is a residentof LafourcheParish,Louisiana.

                                                                                 MR'
 4.     MR. SCHLESINGERis a qualified individual with a disability underthe ADA.

        SCHLESINGERis afflictedwith spinabifida'

  5.                                                 impairedin severalmajorlife activitiesand
        Dueto hisdisability,pLAINTIFF is substantially
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           requiresa wheelchairfor mobility'

6.         Uponinformationandbelief,DEFENDANTisaLimitedLiabilityCompany,organizedin

                                                       of 1722VeteransBoulevard'McComb'
           the Stateof Mississippiandhavingthe domicile
                                                             LouisianaSecretaryof stateto
                    i 39645.DEFENDANTis a registeredwith the
           Mississipp
                                                                               at 300North
                                                            businessestablishment
           dobusinessin Louisianaandhasits principleLouisiana

           CanalBoulevard,Thibodaux'Louisiana,70301'

                                                     owner'lessee,lessorand/oroperatorof
7.          Uponinformationandbelief,DEFENDANTis the

            therealpropertiesandimprovementswhichisthesubjectofthisaction'towit:PlazaDel

                                                         North canal Boulevard'Thibodaux'
            Rienzi Shoppingcenter generallylocatedat 375

                    70301.
            Louisiana

                                                           ADA'
 8.         TheDEFENDANTis obligatedto complywith the
                                                                   Districtof Louisiana'Lafourche
 9.         All eventsgivingriseto this lawsuitoccurredin theEastern

             Parish.Louisiana.




                                                  1 - 9 asif theywereexplesslyrestatedherein'
             PLAINTIFFreallegesandreaversParagraphs
     10.

                                                       subjectto the ADA' generallylocatedat:
             ThePropertyis a placeof publicaccommodation,
     11.

              at3T|NorthCanalBoulevard,Thibodaux,LouisianaT030l.

                                                       timesandplansto visit theProperty
                              visitedthePropertynumerous
     12.     MR. SCHLESINGERhas

              againin the nearfuture.
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                                       experienced
       Duringthesevisits,MR. SCHLESINGER                                   thegoods
                                                 seriousdifficulty accessing
13.
                                                                                in paragraph
       andutilizing the servicesthereindueto the architecturalbarriersasdiscussed

       16of this Complaint.

t4.    MR. SCHLESINGERcontinuesto desireto visit the Property,but continuesto experience

                                                   in Paragraph16which still exist.
       seriousdifficulty dueto the barriersdiscussed

15.    MR. SCHLESINGERintendsto andwill visit thePropertyto utilize thegoodsandservices

       in the future,but fearsthat he will encounterthe samebarriersto accesswhich are the

       subjectsof this action.

16.                          42U.S.C.$
       DEFENDANTisinviolationof                               etseq.and
                                         etseq.and28C.F.R.$36'302
                                     12181

       is discriminatingagainstPLAINTIFF due to, but not limited to the following violations

                                                         which hinderedhis access:
       which pLAINTIFF personallyobservedand/orencountered

              A.                                                                     contain
                      Therearerampsat thefacility thatdo not havelevel landingsand"/or

                              sloPes;
                      excessive

              B.      A completelackof disabledparkingin thevicinity of certainretailerswithin

                                 center;
                      the shoPPing

               C.                                  routefrom theparkingareasto thefacility;
                      Thereis no compliantaccessible

               D.     In the parkingareathereis non complaintstripingandsignage;

               E.     Thereis no compliantcurbcut betweenthe parkingareaandfacility itself;

               F.     The crossslopeof the curbrampcontainsexcessiveslopes;and

               G.     The restroomsarenon-compliantanddo not havethe propersignage.

 17.    Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others

                                                       modificationsin policies,practicesor
        similarly situated,by failing to make reasonable
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                                                      to provide PLAINTIFF an equal
      procedures,when such modifications are necessary

                                                          goods, services, facilities' privileges'
      opportunity to participate in, or benefit from, the

                                                         to the genelalpublic;andby
      advantages,and accommodationswhichDEFENDANT offers

                                                                that no individual with a disability
      failing to take suchefforts that may be necessaryto ensure

                                                            treated differently than other
      is excluded, denied services, segregated'or otherwise

      individuals becauseof the absenceof auxiliary aids and services.

                                                                   and have not beenremediedor
18.   To date,all barriers to accessand ADA violations still exist

                                                            the provisions of the ADA' even
      altered in such a way as to effectuatecompliance with

      though removal is readily achievable'
                                                                on the Property is readily
19.    Removal of the discriminatory barriers to access located

                                                              and would not place an undue
       achievable,reasonablyfeasible, and easily accomplished,

       burdenon DEFENDANT.
                                                                  providePLAINTIFFan
t9.    Removalof the barriersto accesslocatedon the Propertywould
                                                                         andaccommodations
       equalopportunityto participatein, or benefitfrom,thegoods,services,

       which DEFENDANToffer to the generalpublic'
                                                                             additionally
20.              of his intent to returnas a patronto the Property,PLAINTIFF
       Independent
                                                                    to accessstatedherein
       intendsto returnasan ADA testerto determinewhetherthebarriers

        havebeenremedied.
                                                                    for the filing and
21.     PLAINTIFF has been obligatedto retain the undersignedcounsel
                                                                            attorneys'fees'
        prosecutionof this action. PLAINTIFF is entitledto havehis reasonable
                                                to 42 U.S.C.$ 12205'
                        paidby DEFENDANT,pursuant
        costs,andexpenses
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                                judgmentagainstDEFENDANT,andrequeststhe
      WHEREFORE,PLAINTIFF demands

followinginjtrnctiveanddeclaratoryreliefi

       A.     That this court declarethat the Propertyowned, leasedand/or operatedby

              DEFENDANTis in violationof the ADA;

       B.     That this court enteran order directingDEFENDANT to alter the facility to make

                          to anduseableby individualswith disabilitiesto thefull extentrequired
              it accessible

              by Title III of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

                                             towardspersonswith disabilitiesfor a reasonable
              policies,practices,andprocedures

                                                  andcompletionof correctiveprocedures;
              amountof time, allowingimplementation

       D.                                  attomeys'fees,costs(includingexpertfees),and
               Thatthis Courtawardreasonable

                           of suit,to PLAINTIFF;and
               otherexpenses
                                                                                 just
        E.     That this Court awardsuchotherandfurtherrelief as it deemsnecessary, and

               proper.
                                                   RespectfullySubmitted,

                                                   THE BIZER LAW FIRM
                                                   Attorneysfor Plaintiff
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